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                                                                                                 EXHIBIT 624.R

                                                                                                    EXHIBIT 624.R-001
                                                                                         GOOG-PLAY-004488106.R
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                                                                                                    EXHIBIT 624.R-002
                                                                                         GOOG-PLAY-004488107.R
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●   Formatting




                                                                                                        EXHIBIT 624.R-003
                                                                                             GOOG-PLAY-004488108.R
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                                                                                                    EXHIBIT 624.R-004
                                                                                         GOOG-PLAY-004488109.R
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                                                                                                    EXHIBIT 624.R-005
                                                                                         GOOG-PLAY-004488110.R
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                                                                                                    EXHIBIT 624.R-006
                                                                                         GOOG-PLAY-004488111.R
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●   OS Upgrades and Play Exclusivity
●   Google approves the UX/SW experience, subject to change by Google, which today includes: deep integrations for Assistant, Clean UI,
    Defaults/ exclusivity for Comms, Pay, Photos, News/Podcast, Gmail, GCal)




                                                                                                                             EXHIBIT 624.R-007
                                                                                                                  GOOG-PLAY-004488112.R
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                                                                                                    EXHIBIT 624.R-008
                                                                                         GOOG-PLAY-004488113.R
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●   Guiding principles
●   P0: Core Search and Play provisions are non-negotiable. We reserve the right with OEMs to also request implementation of additional
    revenue generating features (e.g. Play FOP setup in OOB)
●   P1: Assistant integrations are top priority. Only negotiable items are provisions where OEM BOM is impacted (e.g. HW buttons, DSP
    integrations, etc.). Waiving such provisions will result in a lower pay-out for the partner
●   P1: Cohesive phone experience (i.e. UI and app preload approval): Non-negotiable (including no duplication of GMS apps). Google reserves
    the right to change/evolve the list of requested apps based on feature availability (e.g. Comms in JP), or changed priorities (e.g. require
    Camera integration, GPay additional features, etc. in the future)                                                               EXHIBIT 624.R-009
                                                                                                                    GOOG-PLAY-004488114.R
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                                                                                                    EXHIBIT 624.R-010
                                                                                         GOOG-PLAY-004488115.R
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●   Strategic
●   Aligns rapidly growing CN OEMs with Google before they pass the pivotal moment in 1P services growth (e.g. Xiaomi generated $125M revenue from 1P services and ads in
    IN/ID)
●   Promotes Android and Google by advancing cleaner, more secure, fresher UX
●   App efficiency
●   Per device** and operational savings by consolidating standalone bounties:
●   Xiaomi: GFD is $0.3 more expensive than app bounties, but adds Play, Clean UI, Photos, Gmail and Gcal protections
●   LG: $0.6 savings per device after 2020 (GFD is $0.1 more expensive vs. app bounties until button deal runs out)
●   Other non CN OEMs: ~$0.5 savings per device (incl. HW button)
●   Additional potential upside (not part of the deal model)
●   $800M in marketing by carriers (might require additional 1-2 HC to manage)
●   3-5pts revenue uplift for Google Forward devices via Search & Play
●   Clean devices are 15-20% more likely to attract iOS switchers                                                                                   EXHIBIT 624.R-011
                                                                                                                                    GOOG-PLAY-004488116.R
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●   Other OEMs includes rampdown from Huawei RSA devices




                                                                                                          EXHIBIT 624.R-012
                                                                                               GOOG-PLAY-004488117.R
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●   Mandated carrier reinvestment is 10%, 10%, 15%, 15%, 20% in each year
●   Other OEMs includes rampdown from Huawei RSA devices




                                                                                                            EXHIBIT 624.R-013
                                                                                                 GOOG-PLAY-004488118.R
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                                                                                                    EXHIBIT 624.R-015
                                                                                         GOOG-PLAY-004488120.R
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●   Other OEMs includes rampdown from Huawei RSA devices




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●   Other OEMs includes rampdown from Huawei RSA devices




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●   Other OEMs includes rampdown from Huawei RSA devices




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●   Other OEMs includes rampdown from Huawei RSA devices




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●   Other OEMs includes rampdown from Huawei RSA devices




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●   Other OEMs includes rampdown from Huawei RSA devices




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                                                                                               GOOG-PLAY-004488129.R
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                                                                                         GOOG-PLAY-004488130.R
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●   *Global UI has a team of 400
●   *All apps listed are Xiaomi first party




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                                                                                                     GOOG-PLAY-004488140.R
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●   Introduction to what Android core commercial agreements are, and their basic premise




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                                                                                                  GOOG-PLAY-004488145.R
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●   Other OEMs includes rampdown from Huawei RSA devices




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●   13% Play and 17% Search growth for rest of ecosystem




                                                                                                            EXHIBIT 624.R-055
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